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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 CIRBA INC. (d/b/a DENSIFY)                          Civil Action No. 1:19-cv-00742-LPS
 and CIRBA IP, INC.,

                         Plaintiffs,
                                                     JURY TRIAL DEMANDED
        v.

 VMWARE, INC.,

                         Defendant.


                       PLAINTIFFS’ PROPOSED VERDICT FORM

INFRINGEMENT OF U.S. PATENT NO. 8,209,687

Question No. 1:
      Has Densify proven, by a preponderance of the evidence, that VMware has literally

infringed any of the following claims of the ’687 patent?

   “Yes” is a finding for Densify. “No” is a finding for VMware.

    Claim 3       Yes _______          No ________

    Claim 7       Yes _______          No ________



Question No. 2:
      Has Densify proven, by a preponderance of the evidence, that VMware has induced the

infringement of any of the following claims of the ’687 patent?

   “Yes” is a finding for Densify. “No” is a finding for VMware.

    Claim 3       Yes _______          No ________

    Claim 7       Yes _______          No ________



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Question No. 3:
      If you have found that VMware infringed at least one claim of Densify’s ‘687 patent, do

you find that VMware’s infringement of the ‘687 patent was willful?

       Check one:


     ______        Yes (Willful)

     ______        No (Not Willful)



INFRINGEMENT OF U.S. PATENT NO. 9,654,367

Question No. 4:
      Do you find that Densify has proven, by a preponderance of the evidence, that VMware

has literally infringed any of the following claims of the ’367 patent?

          “Yes” is a finding for Densify. “No” is a finding for VMware.

Claim 1        Yes _______ No ________               Claim 13      Yes _______ No ________

Claim 2        Yes _______ No ________               Claim 15      Yes _______ No ________

Claim 4        Yes _______ No ________               Claim 16      Yes _______ No ________

Claim 5        Yes _______ No ________               Claim 17      Yes _______ No ________

Claim 9        Yes _______ No ________               Claim 19      Yes _______ No ________

Claim 11       Yes _______ No ________




Question No. 5:
      Do you find that Densify has proven, by a preponderance of the evidence, that VMware

has induced the infringement of any of the following claims of the ’367 patent?



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       “Yes” is a finding for Densify. “No” is a finding for VMware.

Claim 1        Yes _______ No ________              Claim 13     Yes _______ No ________

Claim 2        Yes _______ No ________              Claim 15     Yes _______ No ________

Claim 4        Yes _______ No ________              Claim 16     Yes _______ No ________

Claim 5        Yes _______ No ________              Claim 17     Yes _______ No ________

Claim 9        Yes _______ No ________              Claim 19     Yes _______ No ________

Claim 11       Yes _______ No ________




Question No. 6:
      If you have found that VMware infringed at least one claim of Densify’s ‘367 patent, do

you find that VMware’s infringement of the ’367 patent was willful?

       Check one:


     ______        Yes (Willful)

     ______        No (Not Willful)




VALIDITY OF DENSIFY’S U.S. PATENT NO. 8,209,687

Question No. 7:
      Has VMware proven by clear and convincing evidence that any of the following claims

of the ’687 patent is invalid as anticipated?

          “Yes” is a finding for VMware. “No” is a finding for Densify.

    Claim 3         Yes _______       No ________



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    Claim 7         Yes _______      No ________




Question No. 8:
      Has VMware proven by clear and convincing evidence that any of the following claims

of the ’687 patent is invalid because the claimed subject matter would have been obvious to a

person of ordinary skill in the art at the time of the claimed invention?

       “Yes” is a finding for VMware. “No” is a finding for Densify.

    Claim 3         Yes _______      No ________

    Claim 7         Yes _______      No ________




VALIDITY OF DENSIFY’S U.S. PATENT NO. 8,209,367

Question No. 9:
      Has VMware proven by clear and convincing evidence that any of the following claims

of the ’367 patent is invalid as anticipated?

          “Yes” is a finding for VMware. “No” is a finding for Densify.

Claim 1        Yes _______ No ________                Claim 13      Yes _______ No ________

Claim 2        Yes _______ No ________                Claim 15      Yes _______ No ________

Claim 4        Yes _______ No ________                Claim 16      Yes _______ No ________

Claim 5        Yes _______ No ________                Claim 17      Yes _______ No ________

Claim 9        Yes _______ No ________                Claim 19      Yes _______ No ________

Claim 11       Yes _______ No ________




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Question No. 10:
      Has VMware proven by clear and convincing evidence that any of the following claims

of the ’367 patent is invalid because the claimed subject matter would have been obvious to a

person of ordinary skill in the art at the time of the claimed invention?

       “Yes” is a finding for VMware. “No” is a finding for Densify.

Claim 1       Yes _______ No ________                 Claim 13      Yes _______ No ________

Claim 2       Yes _______ No ________                 Claim 15      Yes _______ No ________

Claim 4       Yes _______ No ________                 Claim 16      Yes _______ No ________

Claim 5       Yes _______ No ________                 Claim 17      Yes _______ No ________

Claim 9       Yes _______ No ________                 Claim 19      Yes _______ No ________

Claim 11      Yes _______ No ________




UNFAIR COMPETITION (Infringement of Unregistered Trademark)

Question No. 11:
      Do you find that Densify has proven by a preponderance of the evidence that VMware

has committed unfair competition by infringing Densify’s unregistered trademarks?

 “Yes” is a finding for Densify. “No” is a finding for VMware.

  Yes _______ No ________




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DELAWARE DECEPTIVE TRADE PRACTICES ACT

Question No. 12:
      Do you find that Densify has proven by a preponderance of the evidence that VMware

engaged in a deceptive trade practice against Densify?

       “Yes” is a finding for Densify. “No” is a finding for VMware.

  Yes _______ No ________



COMMON LAW TRADEMARK INFRINGEMENT

Question No. 13:
      Do you find that Densify has proven by a preponderance of the evidence that VMware

infringes Densify’s common law trademark rights?

       “Yes” is a finding for Densify. “No” is a finding for VMware.

  Yes _______ No ________



DAMAGES

       The ‘687 Patent

Question No. 14:
      If you have found that VMware infringed at least one valid claim of Densify’s ‘687

patent, what is the dollar amount Densify has proven it is entitled to as a reasonable royalty for

past infringement?

       Answer in dollars and cents.

       Answer: _____________________________




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Question No. 15:
      If you have found that VMware infringed at least one valid claim of Densify’s ‘687

patent, what is the dollar amount Densify has proven it is entitled to as lost profits for past

infringement?

       Answer in dollars and cents.

       Answer: _____________________________




       The ‘367 Patent

Question No. 16:
      If you have found that VMware infringed at least one valid claim of Densify’s ‘367

patent, what is the dollar amount Densify has proven it is entitled to as a reasonable royalty for

past infringement?

       Answer in dollars and cents.

       Answer: _____________________________




Question No. 17:
      If you have found that VMware infringed at least one valid claim of Densify’s ‘367

patent, what is the dollar amount Densify has proven it is entitled to as lost profits for past

infringement?

       Answer in dollars and cents.

       Answer: _____________________________




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       Unfair Competition


Question No. 18:
      If you have found that VMware committed unfair competition (infringement of Densify’s

unregistered trademark), what is the dollar amount of damages Densify has proven?

       Answer in dollars and cents.

       Answer: _____________________________

       Trademark Infringement

Question No. 19:
      If you have found that VMware committed common law trademark infringement, what is

the dollar amount of damages Densify has proven?

       Answer in dollars and cents.

       Answer: _____________________________

Answer no further questions.




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